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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

CYWEE GROUP LTD.,                                    CASE NO. 1:17-cv-00780-GMS

        Plaintiff,

MOTOROLA MOBILITY LLC,                               JURY TRIAL DEMANDED

        Defendant.

                     AMENDED [PROPOSED] SCHEDULING ORDER1

        This __________ day of _________________, 2017, the Court having conducted a Rule 16

Scheduling Conference pursuant to Local Rule 16.2(b) on                       , and the parties having

determined after discussion that the matter cannot be resolved at this juncture by settlement,

voluntary mediation or binding arbitration;

        IT IS ORDERED that:

        1.     Rule 26(a) Initial Disclosures. Unless otherwise agreed to by the parties, they shall

make their initial disclosures pursuant to Federal Rule of Civil Procedure 26(a) on or before

November 7, 2017.

        2.     Joinder of other Parties and Amendment of Pleadings. All motions to join other

parties and amend the pleadings, except for inequitable conduct and willfulness, shall be filed on or

before March 15, 2018. Amendments to the pleadings adding inequitable conduct or willfulness

allegations shall be filed on or before July 10, 2018.

        3.     Reliance Upon Advice of Counsel. Defendant shall inform Plaintiff whether it

intends to rely upon advice of counsel as a defense to willful infringement and, if Defendant elects


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 Plaintiff files this proposed order pursuant to the Court’s Oral Order re [14] Joint Status Report
dated November 15, 2017.
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to rely on advice of counsel as a defense to willful infringement, Defendant shall produce any such

opinions and supporting materials on which defendant intends to rely to Plaintiff no later than 30

days after the Markman Order is issued.

       4.      Markman Claim Construction Hearing. A Markman claim construction hearing

shall be held on September 6, 2018 at 9:30 AM in Courtroom 4A. The Markman hearing is

scheduled for one-half day. The parties shall meet and confer regarding narrowing and reducing

the number of claim construction issues. On or before July 2, 2018, the parties shall submit a Final

Joint Claim Chart which shall include citations to intrinsic evidence. The Plaintiff shall submit to the

court, a Joint Appendix of Intrinsic Evidence (the “Joint Appendix”) containing all intrinsic evidence

relied upon in the claim construction briefing. A sample table of contents of the Joint Appendix can

be located on this court’s website at www.ded.uscourts.gov. The Joint Appendix shall be filed on the

same day as the answering claim construction briefs. The parties shall exchange proposed claim

terms for construction on May 9, 2018, and shall exchange proposed constructions for those terms

on June 14, 2018. The parties shall file opening claim construction briefs on July 30, 2018, and

answering claim construction briefs on August 27, 2018. Briefing will be presented pursuant to the

court’s Local Rules.

       5.      Discovery. All fact discovery in this case shall be initiated so that it will be completed

on or before October 31, 2018. All production of documents in this case shall be substantially

completed by July 26, 2018. Opening expert reports on issues on which a party bears the burden of

proof shall be served on or before December 10, 2018. Rebuttal expert reports shall be served on or

before January 18, 2019. Expert Discovery in this case shall be initiated so that it will be completed

on or before March 8, 2019.

       a.      Initial Identification of Accused Products. By or on November 22, 2017, Plaintiff

shall preliminarily identify the accused products and the asserted claim(s) they allegedly infringe,
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disclose its damages model, and produce the file history for the asserted patent.

        b.     Production of Core Technical Documents. By or on January 3, 2018, Defendant

shall produce to Plaintiff the core technical documents related to the accused product(s), including,

but not limited to, operation manuals, product literature, schematics, and specifications, and sales

figures for the accused products including unit sales and revenue generated per year.

        c.     Initial Infringement Contentions. By or on February 7, 2018, Plaintiff shall

produce to Defendant initial claim charts relating each accused product to the asserted claims each

product allegedly infringes on an element by element basis.

        d.     Initial Invalidity Contentions. By or on March 26, 2018, defendants shall produce

to plaintiff initial invalidity contentions for each asserted claim, comparing the asserted reference to

the claims on an element by element basis for primary references, as well as the related invalidating

references (e.g., publications, manuals and patents).

        e.     Final Infringement Contentions. By or on 30 days after the Court issues its

Markman order, plaintiff shall produce to Defendant final infringement contentions.

        f.     Final Invalidity Contentions. By or on 60 days after the Court issues its Markman

order, Defendant shall produce final invalidity contentions.

        g.     Discovery and Scheduling Matters: Should counsel find they are unable to resolve

a discovery2 or scheduling matter, the party seeking the relief shall contact chambers at (302) 573-6470

to schedule a telephone conference. Not less than forty-eight hours prior to the teleconference, the

parties shall file with the court, via electronic means (CM/ECF), a Joint Letter Agenda, which is non-

argumentative, not to exceed two (2) pages outlining the issue(s) in dispute.



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 Unless the court otherwise orders, should counsel be unable to agree on the discovery of paper
and electronic documents, the court’s “Default Standard for Discovery, Including Discovery of
Electronically Stored Information” (“ESI”) shall govern.
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        A sample letter can be located on this court’s website at www.ded.uscourts.gov. After the

parties have had three (3) discovery teleconferences, they will be required to file a joint letter showing

good cause why the court should permit a fourth discovery teleconference. Should the court find

further briefing necessary upon conclusion of the telephone conference, unless otherwise directed, the

party seeking relief shall file with the court a TWO PAGE LETTER, exclusive of exhibits,

describing the issues in contention. The responding party shall file within five (5) days from the date

of service of the opening letter an answering letter of no more than TWO PAGES. The party seeking

relief may then file a reply letter of no more than TWO PAGES within three (3) days from the date

of service of the answering letter.

        6.     Confidential Information and Papers filed under Seal. Should counsel find it will

be necessary to apply to the court for a protective order specifying terms and conditions for the

disclosure of confidential information, they should confer and attempt to reach an agreement on a

proposed form of order and submit it to the court by December 5, 2017. When filing papers under

seal, counsel should deliver to the Clerk an original and two copies of the papers.

        If after making a diligent effort the parties are unable to agree on the contents of the

joint proposed protective order, then they shall follow the dispute resolution process outlined in

paragraph 5(a).

        7.     Settlement Conference. Pursuant to 28 U.S.C. §636, this matter is referred to the

United States Magistrate Judge for the purpose of exploring the possibility of a settlement. The

parties shall wait to be contacted by the assigned United States Magistrate Judge.

        8.     Summary Judgment Motions. Prior to filing any summary judgment motion, the

parties must submit letter briefs seeking permission to file the motion. The opening letter brief shall be

no longer than five (5) pages and shall be filed with the Court no later than March 22, 2019.

Answering letter briefs shall be no longer than five (5) pages and filed with the court no later than
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April 12, 2019. Reply letter briefs shall be no longer than three (3) pages and filed with the Court

on or before May 3, 2019. If the Court determines that argument is necessary to assist in the

resolution of any request to file summary judgment, it shall notify the parties of the date and time on

which the Court will conduct a telephone conference to hear such argument. Unless the Court

directs otherwise, no letter requests to file a motion for summary judgment may be filed at a

time before the dates set forth in paragraph 8.

       9.      Case Dispositive Motions: Briefing will be presented pursuant to the Court’s Local

Rules. Case dispositive motions shall be filed within 2 weeks of the Court’s decision to permit the

filing of such motions. The parties may agree on an alternative briefing schedule. Any such

agreement shall be in writing and filed with the Court for the Court’s approval. Any request for

extensions of time as set forth in this Scheduling Order must be accompanied by an explanation or

your request will be denied.

       10.     Applications by Motion. Except as provided in this Scheduling Order or for matters

relating to scheduling, any application to the Court shall be by written motion filed, via electronic

means (CM/ECF). Unless otherwise requested by the Court, counsel shall not deliver copies of

papers or correspondence to Chambers. Any non-dispositive motion should contain the statement

required by Local Rule 7.1.1.

       11.     Oral Argument. If the Court believes that oral argument is necessary, the Court will

schedule a hearing Pursuant to District of Delaware Local Rule 7.1.4.

       12.     Pretrial Conference. On September 18, 2019, beginning at 10:00 AM, the Court

will hold a Pretrial Conference, in Courtroom 4A, with counsel. Unless otherwise ordered by the

Court, the parties should assume that filing the Joint Pretrial Order satisfies the pretrial disclosure

requirement in Federal Rule of Civil Procedure 26(a)(3). A sample form of Pretrial Order can


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be located on this court’s website at www.ded.uscourts.gov. Thirty (30) days before the Joint

Proposed Pretrial Order is due, plaintiff’s counsel shall forward to defendant’s counsel a draft of the

pretrial order containing the information plaintiff proposes to include in the draft. Defendant’s

counsel shall, in turn, provide to plaintiff’s counsel any comments on the plaintiff’s draft, as well

as the information defendant proposes to include in the proposed pretrial order. Motions in limine3:

NO MOTIONS IN LIMINE SHALL BE FILED; instead, the parties shall be prepared to address

their evidentiary issues at the Pretrial Conference and during trial (before and after the trial day). The

parties shall file with the court the joint Proposed Final Pretrial Order in accordance with the terms

and with the information required by the form of Final Pretrial Order, which can be located on

this court’s website at www.ded.uscourts.gov, by close of business on August 30, 2019.

        13.     Trial.   This matter is scheduled for a 5-day jury trial beginning at 9:30 a.m. on

October 7, 2019 in Courtroom 4A.

        14.     Scheduling: The parties shall contact chambers, at (302) 573-6470, only in situations

where scheduling relief is sought, and only then when ALL participating counsel is on the line for

purposes of selecting a new date.




                                                    UNITED STATES DISTRICT JUDGE




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 The parties should simply list, in an Exhibit to be attached to the Pretrial order, the issues under a
heading such as “Plaintiff’s [name of party] List of Evidentiary Issues It Intends To Raise.”
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